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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION AT CLEVELAND

                                                 )
 IN RE: SONIC CORP. CUSTOMER DATA                ) MDL Case No. 1:17-md-02807-JSG
 BREACH LITIGATION                               )
 (Financial Institutions)                        )
                                                 )
 THIS DOCUMENT RELATES TO ALL                    )
 FINANCIAL INSTITUTION ACTIONS                   )
                                                 )

         JOINT MOTION FOR EXTENSION OF TIME TO FILE MOTION FOR
                        PRELIMINARY APPROVAL

       Plaintiffs American Airlines Federal Credit Union, Arkansas Federal Credit Union, and

Redstone Federal Credit Union and the Sonic Defendants hereby jointly move the Court for an

extension of time to move for preliminary approval of a tentative class action settlement.

Specifically, the parties seek to present their proposed Settlement Agreement to the Court by April

18, 2022.

       On February 3, 2022, the Court entered a Minute Order reflecting that the parties had come

to an initial agreement to settle this matter following three days of mediation. ECF No. 505. In

that Minute Order, the Court also set a deadline of March 7, 2022 for the parties to file “their

motion for preliminary approval[.]” Id. However, a dispute arose regarding one of the key terms,

which negotiation of the issue before Judge Greenberg. Non-Document Dkt. Order Mar. 4, 2022.

In connection with the resolution of that dispute, the parties jointly moved the Court to move the

deadline to file a motion for preliminary approval to April 4, 2022. ECF No. 507. The Court did

not rule on that motion, but through negotiation and with Judge Greenberg’s assistance, the parties

resolved the dispute. ECF No 508; Non-Document Dkt. Order Mar. 14, 2022. Thereafter, the
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parties continued negotiated the terms of the proposed Settlement Agreement and preliminary

approval papers.

       At this time, the parties are close to finalizing the Settlement Agreement and several

exhibits and do not foresee any disputes or obstacles that threaten the process. However, the parties

require a small amount of additional time to reach a final settlement agreement, prepare all related

documentation, and to submit a motion for preliminary approval. The parties respectfully request

that the Court extend the time for the parties to submit a motion for preliminary approval to April

18, 2022.

Dated: April 1, 2022                                  Respectfully submitted,

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Executive Committee for Plaintiffs and the Class




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                               CERTIFICIATE OF SERVICE
       This is to certify that I have this day served a true and correct copy of the foregoing Joint

Motion for Extension of Time to File Motion for Preliminary Approval with the Clerk, United

States District Court, using the CM/ECF system, which will automatically send e-mail notification

to counsel of record, and sent a courtesy copy of the same via electronic mail to the following

attorneys of record:

       Kari M. Rollins        krollins@sheppardmullin.com
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Dated: April 1, 2022                         /s/ Brian C. Gudmundson
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